         Case 4:08-cr-00352-JLH Document 267 Filed 01/22/14 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                                No. 4:08CR00352-07 JLH

ANDREW DEAN HUGHES                                                           DEFENDANT

                                           ORDER

       Andrew Dean Hughes’s motion to terminate his supervised release is GRANTED. Document

#261. Hughes is hereby discharged and released from further supervision.

       IT IS SO ORDERED this 22nd day of January, 2014.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
